CaS€ 18-04160-.].](3-11 DOC 1 Filed 05/30/18 EOD O

Fill in this informatidn to identify your case:

United States Bankruptcy Court for the:

District of _

 

Case number (/fknown); Chapter you are filing under: §

Cl Chapter 7

§Chapter 11
Chapter 12

Cl Chapter 13

official Form 191_

Voluntary Petition for lndividuals Filing for Bankruptcy

The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married coupl
joint case-and 1n joint cases, these forms use you to ask for information from both debtors.

 

5/30/18 16233:42 PQ 1 Of 12

 

§§§ §§§§‘§'3 P?§t¢: 19
5 §.§“f ..§§§§B§§; §§§§§:‘§

 

§;'§= §§§§~§1:§§ §§
"f f’*'é:'r§§;§ §az§§§§_§§§€§§

amended filing

12/17

v may file a bankruptcy case together-called a
For example, if a form asks, “Do you own a car,”

the answer would be yes if either debtor owns a car. When information is needed about the pouses separately, the form uses Debtor 1 and

Debtor 2 to distinguish between them. ln joint cases, one of the spouses must report inform
same person `must be Debtor 1 in all of the forms.

Be as complete and accurate as possible. lf two married people are filing together, both are e

tion as Debtor 1 and the other as Debtor 2. The

qually responsible for supplying correct

information. lf more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number

(if known). Answer every question.

. Your full name

identify Yourself

About Debtor 1:

d

Write the name that is on your
government-issued picture

/A/d/.

bout Debtor 2 (Spouse Only in a Joint Case):

 

S'"/~ua‘v<r /1/70%'/'1//§&161

 

 

 

 

 

identincation (for examp|e, F"St name F rst name

your driver’s license or

paSSpOri). l\/liddle name Niddle name

Bring your picture

identincation to your meeting '-a$f name L ast name §

with the trustee =
Sufnx (Sr., Jr., 11, 111) Suffix (Sr.. Jr§, 11, 111)

 

 

 

 

 

 

 

 

 

 

 

2. Al| other names you
have used in the last 8 First name F rst name
years
lnclude your married or Middle name Middle name
maiden names.
Last name L st name
First name F rst name
Middle name M ddle name
Last name L¢ st name
3. Only the last 4 digits of X XX X XX
your Social Security XX " ` _ _ _ _ ' _ _ ___ ___
number or federal 0R q
individual Taxpayer 9 z § (D g 9
identification number XX “' XX ____ __ XX _ XX ~_ ___ ___ _____
(|TlN)

Offlcial Form 101 Voluntary Petition for lndividua|s Filing for Bankr

 

thcy Page 1

 

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SW/¢)€f /LiO)€/'W
/l///MH A. S`“/M

Debtor 1

/`/\/@

 

First Name

Middle Name

Last Name

, ///é€ /0/2€://0§/1¢

Case number (rfknown)

 

4. Any business names
and Employer
identification Numbers
(ElN) you have used in
the last 8 years

include trade names and
doing business as names

About Debtor 1:

El

| have not used any business names or E|Ns.

About Debtor 2 (Spouse Only in a Joint Case):

El l have not used any business names or Ele.

 

57er Ma)<w/¢)CLA //\16.

Business name

Business name

 

Business name

§§-_Qj_@_%_i’£@j

Business name

Er'r\‘r_

 

5. Where you live

QSLO/ A/ Z`LL/"/\/C)/§ S_F

 

Number

Street

 

,Z`MO//a»wz'/Jocié j/V %ZOX

 

City

State ZlP Code

/M/i?€/OM

 

County

lf your mailing address is different from the one
above, fill it in here. Note that the court will send
any notices to you at this mailing address.

P. O. B@)< ewsz

 

 

 

|f Debtor 2 lives at a different address:

 

Number Street

 

 

City State ZlP Code

 

County

|f Debtor 2’s mailing address is different from
yours, fill it in here. Note that the court will send
any notices to this mailing address.

 

 

 

 

 

Number Street Number Street
P .eox P.o. Box
/t//) law amos 2/\/ L/QZ@ g
City State ZlP Code City State ZlP Code
6. Why you are choosing Check one: Check one:

this district to file for
bankruptcy

Cl

Over the last 180 days before filing this petition,
have lived in this district longer than in any
other district.

| have another reason. Explain.
(See 28 U.S.C. § 1408.)

 

 

 

 

Cl Over the last 180 days before ming this petition,
| have lived in this district longer than in any
other district.

El | have another reason. Explain.
(see 28 u.s.c. § 1408.)

 

 

 

 

 

Offrcia| Form 101

Voluntary Petition for individuals Filing for Bankruptcy

page 2

 

CaS€ 18-04160-.].](3-11 DOC 1 Filed 05/30/18 EOD O

§70#<¢ /W)€rw/%
/l//Ma A. §72/

Middle Name

Debtor1

First Name

m Report About Any Businesses You Own as a Sole Proprietor

//\/@, t
W@e' aries/pair

l Case

Last Name

number (ifknawn)

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12. Are you a sole proprietor
of any full- or part-time
business?

A sole proprietorship is a
business you operate as an
individual, and is not a
separate legal entity such as
a corporation, partnership, or
l_LC.

lf you have more than one
sole proprietorship, use a
separate sheet and attach it
to this petition.

o. Go to Part 4.

Yes. Name and location of business

 

Name of business, if any

 

Number Street

 

 

City

Check the appropriate box to describe your business :
101 (27A))

n Health Care Business (as defined in 11 U.S.C. §
l;l Single Asset Rea| Estate (as dehned in 11 U.S.C.
El Stockbroker (as defined in 11 U.S.C. § 101(53A)
Cl Commodity Broker (as defined in 11 U.S.C. § 10
a None of the above

State ZlP Code

§ 101(51B))

(6))

 

13. Are you filing under
Chapter 11 of the
Bankruptcy Code and
are you a small business
debtor?

For a definition of sma/l
business debtor, see

11 U.S.C. § 101(51D).

/

/f you are filing under Chapter 11, the court must know Wheth er you are a small business debtor so that it
can set appropriate deadlines lf you indicate that you are a s nall business debtor, you must attach your

most recent balance sheet, statement of operations, cash-flow
any of these documents do not exist, follow the procedure in 1

E] No. l am not ming under Chapter 11.

|;l No. l am filing under Chapter 11, but l am NOT a small bi
the Bankruptcy Code.

es. l am ming under Chapter 11 and l am a small busines
Bankruptcy Code.

statement, and federal income tax return or if
1 U.S.C. § 1116(1)(13).

siness debtor according to the definition in

s debtor according to the dennition in the

m Report if You Own or Have Any Hazardous Property or Any Property That Needs immediate Attention

 

14. Do you own or have any
property that poses or is
alleged to pose a threat
of imminent and
identifiable hazard to
public health or safety?
Or do you own any
property that needs
immediate attention?
For examp/e, do you own
perishable goods, or livestock
that must be fed, or a building
that needs urgent repairs?

Otficial Form 101

jim

n Yes. What is the hazard?

 

 

lf immediate attention is needed, why is it needed?

 

 

Where is the property?

 

Number Street

 

 

City

Voluntary Petition for individuals Filing for Bankr

State ZlP Code

uptcy page 4

 

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§n'/z/<r M@v€iu/hz,d //\i@_/

Debtor 1

plaza /) sri/aff

inter massiwa

 

First Name

Middle Name

Last Name

Case number (iri<nowm

m Explain Your Efforts to Receive a Briefing About ¢redit Counseling

 

15. Tell the court whether
you have received a
briefing about credit
counseling.

The law requires that you
receive a briefing about credit
counseling before you file for
bankruptcy. You must
truthfully check one of the
following choices. lf you
cannot do so, you are not
eligible to me.

|f you file anyway, the court
can dismiss your case, you
will lose whatever filing fee
you paid, and your creditors
can begin collection activities
again.

Official Form 101

About Debtor 1:

You must check one.'

n l received a briefing from an approved credit

counseling agency within the 180 days before l
filed this bankruptcy petition, and | received a
certificate of completion.

Attach a copy of the certificate and the payment
plan, if any, that you developed with the agency.

l received a briefing from an approved credit

c unseling agency within the 180 days before l
filed this bankruptcy petition, but l do not have a
certificate of completion.

Within 14 days after you file this bankruptcy petition,
you MUST file a copy of the certihcate and payment
plan, if any,

El l certify that | asked for credit counseling

services from an approved agency, but was
unable to obtain those services during the 7
days after | made my request, and exigent
circumstances merit a 30-day temporary waiver
of the requirement.

To ask for a 30-day temporary waiver of the
requirement attach a separate sheet explaining
what efforts you made to obtain the briehng, why
you were unable to obtain it before you med for
bankruptcy, and what exigent circumstances
required you to tile this case.

Your case may be dismissed if the court is
dissatisfied with your reasons for not receiving a
briefing before you med for bankruptcy.

lf the court is satisfied with your reasons, you must
still receive a briefing within 30 days after you file.
You must me a certificate from the approved
agency, along with a copy of the payment plan you
developed, if any. lf you do not do so, your case
may be dismissed.

Any extension of the 30-day deadline is granted
only for cause and is limited to a maximum of 15
days.

El | arn not required to receive a briefing about

credit counseling because of:

| have a mental illness or a mental
deficiency that makes me
incapable of realizing or making
rational decisions about finances

Cl |ncapacity.

[;l Disability. My physical disability causes me
to be unable to participate in a
briefing in person, by phone, or
through the internet, even after l

reasonably tried to do so.

m Active duty. l am currently on active military

duty iri a military combat zone.

if you believe you are not required to receive a
briehng about credit counseling, you must me a
motion for waiver of credit counseling with the couit.

Voluntary Petition for individuals Filing for

About Debtor 2 (Spouse Only in a Joint Case):

You must check one.'

l;l | received a briefing from an approved credit
counseling agency within the 180 days before |
filed this bankruptcy petition, and | received a
certificate of completion.

Attach a copy of the certificate and the payment
plan, if any, that you developed with the agency.

n l received a briefing from an approved credit
counseling agency within the 180 days before l
filed this bankruptcy petition, but l do not have a
certificate of completion.

Within 14 days after you file this bankruptcy petition,
you l\/|UST me a copy of the certificate and payment
plan, if any.

U | certify that l asked for credit counseling
services from an approved agency, but was
unable to obtain those services during the 7
days after l made my request, and exigent
circumstances merit a 30-day temporary waiver
of the requirement.

To ask for a 30-day temporary waiver of the
requirement, attach a separate sheet explaining
what efforts you made to obtain the briefing, why
you were unable to obtain it before you filed for
bankruptcy, and what exigent circumstances
required you to tile this case.

Your case may be dismissed if the court is
dissatisfied with your reasons for not receiving a
brienng before you filed for bankruptcy.

lf the court is satisfied with your reasons, you must
still receive a briefing within 30 days after you file.
You must file a certihcate from the approved
agency, along with a copy of the payment plan you
developed, if any. lf you do not do so, your case
may be dismissed.

Any extension of the 30-day deadline is granted
only for cause and is limited to a maximum of 15
days.

n | am not required to receive a briefing about
credit counseling because of:

l have a mental illness or a mental
deficiency that makes me
incapable of realizing or making
rational decisions about inances.

El |ncapacity.

n Disability. My physical disability causes me
to be unable to participate in a
briefing in person, by phone, or
through the internet, even after l

reasonably tried to do so.

[;l Active duty. l am currently on active military

duty in a military combat zone.

lf you believe you are not required to receive a
briehng about credit counseling, you must me a
motion for waiver of credit counseling with the courl.

Bankruptcy page 5

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§°rvavo~ ,Momv //u€,
i\/t mar _,.<i . Sn/aizr vice /Pnesi,_lo

Middle Name

s

Ni"

Debtor 1 Case r

16. What kind of debts do
you have?

 

First Name Last Name

Answer These Questions for Reporting Purposes

16a. Are your debts primarily consumer debts? Con
as “incurred by an individual primarily for a personal, iam

No. Go to line 16b.
Yes. Go to line 17.

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umber (iflmown)

umerdebts are defined in 11 U.S.C. § 101(8)
ly, or household purpose."

16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain
m;)ney for a business or investment or through the operation of the business or investment

No. co io line 16¢.
Yes. Go to line 17.

160. State the type of debts you owe that are not consumer de

bts or business debts.

 

 

11. Are you filing under
Chapter 7? . l am not filing under Chapter 7. Go to line 18.

Do you estimate that after El Yes. l am ming under Chapter 7. Do you estimate that afte
any exempt property is administrative expenses are paid that funds will be av

 

any exempt property is excluded and

ailable to distribute to unsecured creditors?

 

 

 

excluded and ij NO
administrative expenses
are paid that funds will be 5 YeS
available for distribution
to unsecured creditors?

ia. How many creditors do )¢~1-49 C| 1,000-5,000 lIl 25,001-50,000
you estimate that you El 50~99 El 5,001-10,000 El 50,001-100,000
OWe? Cl 100-199 C| 10,001-25,000 lfl lvloreinan 100,000

0200*999 t… …,

19. How much do you El $o-$so,ooo i,ooo,ooi-sio million El $500,000,001-$1 billion
estimate your assets fo lfl $50,001-$100,000 C| $10,000,001-$50 million Cl $1,000,000,001~$10 billion
be Worih? Cl $100,001-$500,000 Cl $50,000,001-$100 mil ion El $10,000,000,001-$50 billion

Cl $500,001~$1 million L_.l $100,000,001-s50 million El More than $50 billion

20. How much do you Cl $0-$50,000 U $1,000,001-$10 millioi C| $500,000,001-$1 billion
estimate your liabilities El $50,001-$100,000 El $10,000,001-$50 milli>n Cl $1,000,000,001-$10 billion
i° be? $100,001-$500,000 El $50,000,001-$100 mll lon El $10,000,000,001~$50 billion

"l§`fsoo,ooi-$i million Cl sioo,ooo,ooi-ssoo million lfl i\/lore man $50 billion
sign Below
l have examined this petition, and l declare under penalty of perjury that the information provided is true and
For you correct.

lf l have chosen to me under Chapter 7, | am aware that l may
of title 11, United States Code. l understand the relief available
under Chapter 7.

lf no attorney represents me and l did not pay or agree to pay s
this document, l have obtained and read the notice required by

l request relief in accordance with the chapter of title 11, Unitec

proceed, if eligible, under Chapter 7, 11,12, or 13
under each chapter, and l choose to proceed

omeone who is not an attorney to help me fill out
11 u.s.c. § 342(b).

States Code, specified in this petition.

obtaining money or property by fraud in connection
prisonment for up to 20 years, or both.

uaw/resident

    

Executed on 0

, o/Z

/ DD /YYYY

Omcial Form 101

Voluntary Petition for individuals Filing for Bankruptcy

 

Signature of Debtor 2

Executed on
lvllvl/ DD /YYYY

page 6

 

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Debtor 1 Case number (iil<nown)
First Name Middle Name Last Name

 

 

l, the attorney for the debtor(s) named in this petition, declare that l have informed the debtor(s) about eligibility
to proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief
available under each chapter for which the person is eligible. l also certify that l have delivered to the debtor(s)
the notice required by 11 U.S.C. § 342(b) and, in a case in which § 707(b)(4)(D) applies, certify that l have no

For your attorney, if you are
represented by one

if you are not represented knowledge after an inquiry that the information in the schedules med with the petition is incorrect
by an attorney, you do not
need to file this page. x

Date

 

Signature of Attorney for Debtor MM / DD /YYYY

 

Printed name

 

Firm name

 

Number Street

 

 

 

 

City State ZlP Code
Contact phone Email address
Bar number State

 

Omcial Form 101 Voluntary Petition for individuals Filing for Bankruptcy page 7

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gri/triof tiwu;j:mm::é, ind ‘
iWi>/c¢i- et vice mesio<;a»gi

'lumber (irknown)

First Name Middle Name

For you if you are filing this
bankruptcy without an
attorney

if you are represented by
an attorney, you do not
need to file this page.

Omcial Form 101

l

Last Name

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,~

The law allows you, as an individua|, to represent yourself in bankruptcy court, but you

should understand that many people find it ext
themselves successful|y. Because bankruptcy

mely difficult to represent
as long-term financial and legal

consequences, you are strongly urged to hire a qualified attorney.

To be successful, you must correctly file and handle yc

ur bankruptcy case. The rules are very

technica|, and a mistake or inaction may affect your rights. For example, your case may be
dismissed because you did not file a required docume tt, pay a fee on time, attend a meeting or

hearing, or cooperate with the court, case trustee, U.S

trustee, bankruptcy administrator, or audit

firm if your case is selected for audit. if that happens, you could lose your right to file another
case, or you may lose protections, including the benefit of the automatic stay.

You must list all your property and debts in the schedu

es that you are required to file with the

court. Even if you plan to pay a particular debt outside of your bankruptcy, you must list that debt
in your schedules if you do not list a debt, the debt may not be discharged. if you do not list

property or properly claim it as exempt, you may not be
also deny you a discharge of all your debts if you do sc

able to keep the property. The judge can
mething dishonest in your bankruptcy

case, such as destroying or hiding property, falsifying records, or lying. individual bankruptcy

cases are randomly audited to determine if debtors ha
Bankruptcy fraud is a serious crime; you could be

if you decide to file without an attorney, the court expe
hired an attorney. The court will not treat you differently
successful, you must be familiar with the United States
Bankruptcy Procedure, and the local rules of the court
be familiar with any state exemption laws that apply.

e been accurate, truthful, and complete
ined and imprisoned

ts you to follow the rules as if you had
because you are filing for yourself To be
Bankruptcy Code, the Federal Rules of

n which your case is filed You must also

Are you aware that filing for bankruptcy is a serious action with long-term financial and legal

consequences?

No
Yes

Are you aware that bankruptcy fraud is a serious crime

and that if your bankruptcy forms are

inaccurate or incomplete, you could be fined or imprisoted?

Cl No
VYes

0

` Dif you pay or agree to pay someone who is not an att)rney to help you fill out your bankruptcy forms?

Ci Yes. Name of Person

 

Attach Bankruptcy Petition Preparer’s Notice, Deolaration, and Signature (Ofticiai Form 119).

By signing here. l acknowledge that | understand the ris
have read and understood this notice, and l am aware t
attorney may cause me to lose my rights or property lfl

51 il
.4.» //\l@,

     
 
    

/' ___________

/ lVlM / DD

Contact phone z77 h 4 2 r 6000
Ceil phone zl?r 7/'1£"` LZ/EB

 

 

Email address MSHLM %/@qua//' £Mess

ks involved in filing without an attorney. |
hat filing a bankruptcy case without an
do not properly handle the case.

l/l€b’ let/570 air

 

Signature of Debtor 2

Date ________
NllVl/ DD /YYYY

Contact phone

Celi phone

 

Voluntary Petition for individuals Filing for Bankruptcy page 8

 

Case 18-04160-.].](3-11 DOC 1 Filed 05/30/18 EOD 055/30/18 16233:42 PQ 8 Of 12

Verification of List (rev 08/11/15)

UNlTED STATES BANKRUPTCY COURT
Southern District of lndiana

 

 

|n re: t )
gw/H?@` MG)€’_UA”U [N& ) Case No.
[Name of Debtor(s)] ) (xX-xxxxx)
, )
Debtor(s). )

VER|F|CAT|ON OF CRE_Q|TOR LlST

(l/We) declare that the submitted list of creditors is true and correct.

T t
Dated: 05530"3(9/§

 

 

atu 01` j \

 

Signature ol Joint Debtor

(Note: Certificate of Service not required.)

 

Case18-04160-JJG-11 Docl Filed 05/30/18 EODOE/30/1816:33:42 Pgeof 12
SW Mr Mo>€r~ue/% //\/@
Debtori MH?€H /?~ W/%/<[; lV@E/' WE`/O[V'\//r

Case r umber (irknawn)

 

 

 

First Name Middle Name Last Name
m Tell the Court About Your Bankruptcy Case
7. The chapter of the Check one. (For a brief description of each, see Notice Requ/'/red by 11 U.S.C. § 342(b) for lndividuals Filing
Bankruptcy Code you for Bankruptcy (Form 2010)). A|so, go to the top of page 1 ant check the appropriate box.
are choosing to file
under Cl Chapter 7
Chapter 11
l;l Chapter 12
l;l Chapter 13
a. How you will pay th will pay the entire fee when l file my petition. Please check with the clerk’s office in your

ocal court for more details about how you may pay. Typica|ly, if you are paying the fee

yourself, you may pay with cash, cashier’s check, or money order. lf your attorney is

submitting your payment on your beha|f, your attorn ey may pay With a credit card or check
ith a pre-printed address

l need to pay the fee in installmentsl if you choose this option, sign and attach the
pp//`cation for lndividuals to Pay The Filing Fee in /nsta//ments (Ochial Form 103A).

U l request that my fee be waived (You may request this option only if you are filing for Chapter 7.
By |aw, a judge may, but is not required to, waive your fee, and may do so only if your income is
less than 150% of the official poverty line that applies to your family size and you are unable to
pay the fee in installments). if you choose this optior, you must fill out the App/ication to Have the
Chapter 7 Filing Fee Wa/'ved (Official Form 103B) ar d file it with your petition.

 

9. Have you filed for ;X`NO
bankruptcy within the
last 8 yeal"S? n Yes- District When Case number
MM/ Di: /YYYY

District When Case number
MM/ DE /YYYY

District When Case number
MM/ DD /YYYY

 

10. Are any bankruptcy Y`NO
cases pending or being
filed by a spouse who is m YeS- Deb‘°' Relafion$hip to you
not filing this case with

 

 

 

 

 

_ District When Case number, if known
you, or by a business MM /DD /YYYY
partner, or by an
affiliate?
Debtor Relationship to you
District When Case number, if known
MN| /DD YYYY
\
11- DO you rent your d;m co to line 12.
. d
residence? a Yes. Has your landlord obtained an eviction judgment aga nst you?

C] No. Go to line 12.

El Yes. Fi|| out Initial StatementAbout an Ev/'ction J dgmentAga/‘nst You (Form 101A) and file it as
part of this bankruptcy petition.

Oft`icial Form 101 Voluntary Petition for lndividuals Filing for Bankr zptcy page 3

 

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May 30, 2018

ACCOUNTS PAYABLE
Estimated as of May 29, 2018

IRS
575 N. Pennsylvania Street
Indianapolis, IN 46204

IN DEPT. OF REVENUE
100 Senate Avenue #N248
lndianapolis, IN 46204

WORKFORCE DEVELOPMENT
10 N. Senate Avenue
Indianapolis, IN 46204

PROPERTY TAXES
Marion County Auditor
200 E. Washington Street
Indianapolis, IN 46204

STUART
UNITY CENTER

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240,000.00

115,000.00

23,000.00

90,000.00
19,000.00

Pg 10 of 12

This is manageable debt. Some of these amounts are not verified; Whereas, others have been
settled, or We have Worked out an agreement With the companies:

ADT
MORTUARY
UNITY #1
UNITY #2

ALTERNATIVE CONTAINER
ANTHEM
ASD

AT & T
BARTH
BATESVILLE CASKET COMPANY
BERYL MARTIN

BONDOL

CADILLAC

CHAMPION CHEMICAL

CITY OF INDIANAPOLIS/IFD
GAEDE

(AUTOMATIC)

1,200.00

9,085.00
800.00
4,500.00
15,000.00
290,000.00
12,000.00
2,500.00

515.00
50.00
1,500.00

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INDIANAPOLIS STAR/GANNETT

INTEGRITY REMOVAL
MATTHEW AURORA
MED WASH
MOUNTAINTOP (PETER)
OLD NATIONAL BANK
OBERER

PARAGON CASKET

PIERCE (THE WILBERT GROUP)

PITNEY BOWES
PROGRESSIVE INSURANCE
REBECCA WILLIAMS
SALLEE AND ASSOCIATES
SHELL OIL

SPRINT

STUART MOVING
THOMAS MONUMENT
THOMPSON MacCONNELL
VASEY

WILBERT

YELLOW PAGES

KEVIN
GLADYS WARNER STUART
MARA A. STUART

12,000.00

950.00
325.00
2,405.00
3,900.00
2,900.00
4,057.00
2,940.00
32.00
8900.00
150.()0
775.00
8,810.00
1,600.00
5,600.00
747.00
17,000.00
18,000.00
12,695.00
1,200.00

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lN|TED STATES BANKRUPTCY COURT

SOUTHERN DlSTRlCT POF |ND|ANA

 

lND|ANAPOLlS D|VlSlON
lN RE: )
l
Stuart Mortuary lnc. )
Of lndiana, S-Corp; )
d/b/a Stuart Mortuary )
DEBTOR )

cERTlFchTE oF EMERGENCY

Pursuant to S.D. |nd. B-100
that the petition or pleading filed ct
as to harass, to cause delay, or to ir
complete the filing before the petit
Bankruptcy Clerk.

The undersigned further ce
Debtor has outstanding tax

The undersigned further ce
by any lack of due diligence or circu
undersigned's client. The undersig
understanding of FRBP 9011 and th

Date: May 30, 2018

Z(b), the undersigned hereby certifies that an emergency exists and
)ncurrently herewith is not being filed for an improper purpose, such
crease the cost of litigation, and there is insufficient time to

on must be filed, or to file the pleading in the proper office of the

rtifies that the emergency which exists is:
as due and to be garnished.

'tifies that the necessity of the emergency filing has not been cause
stances beyond the control of the undersigned or the

ed further certifies that this matter is filed with the full

a consequences of noncompliance therewith.

 

 

